   Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNIT 3B 11 BEACH LLC,

                         Plaintiff,          No. 21 CV 3068 (LOS)

             -against-

DAVID KIM,

                         Defendant.




         DEFENDANT'S REPLY MEMORANDUM OF LAW ON HIS
           MOTION TO DISMISS THE AMENDED COMPLAINT




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           Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 2 of 15




                                                     TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................... ................ ii
PRELIMINARY STATEMENT ...................... .............................................................................. 1
ARGUMENT ............. ............. ........................................................................................................ 4
I.                  THE REMAINING CLAIMS OF THE FAC SHOULD BE DISMISSED .............. 4
                     A.     The Tmiious Interference Claim (First Claim) Should Be Dismissed ............. 5
                     B.     The Fraud and Fraudulent Misrepresentation Claims
                            (Third and Fourth Claims) Should Be Dismissed ............................................. 6
                     C.     The Civil Conspiracy Claim (Seventh Claim) Should Be Dismissed .............. 7
                     D.     The Injurious Falsehood Claim (Ninth Claim) Should Be Dismissed .............. 7
                     E.     The Private Nuisance Claim (Tenth Claim) Should Be Dismissed .................. 8
II.                 PLAINTIFF'S CLAIMS SHOULD BE DISMISSSED
                    WITHOUT LEA VE TO REPLEAD AND WITH PREJUDICE ............................. 8
III.                IF ANY CLAIMS ARE NOT DISMISSED, THEY
                    SHOULD BE STA YEO PENDING THE STATE COURT ACTION ................ .... 9
IV.                 AN AW ARD OF SANCTIONS IS APPROPRIATE ............................................... 9
CONCLUSION .... ................... ............................................................... .... .................. .. ............... 10
           Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 3 of 15




                                                 TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

35-45 MayAssocs. v. MaylockAssocs.,
  162 A.2d 389 (1st Dep't 1990) .................................... .............. ............................................. 1, 6

Bargain Me Online LLC v. Ofek,
  Index No . 655810/2020, 2021 N.Y. Misc. LEXIS 1478
  (Sup. Ct. N.Y. Co. Apr. 2, 2021) ........................................ ..................................... ............. ... ... 7

Berenger v. 261 W LLC,
  93 A.D.3d 175 (1st Dep't 2012) ............................................... ........................... ................. ...... 8

Budhani v. Monster Energy Co.,
  No. 20-cv-1409 (LJL), 2021 U.S. Dist. LEXIS 54551 (S.D.N.Y. Mar. 12, 2021) ..... ..... ........... 3

Buxton Mfg. Co. v. Valiant Moving & Storage, Inc.,
  239 A.D.2d 452 (2d Dep't 1997) ................................................................................. .. ........ .. .... 6

Caldwell v. Barriere,
  844 Fed. App'x 461 (2d Cir. 2021) ............................................................................................. 9

Casa de Meadows Inc. (Cayman Islands) v. Zaman,
  76 A.D.3d 917 (1st Dep't 2010) ......................... .............. .... ......................... .............. ........... 6, 7

Chevron Corp. v. Donziger,
  871 F. Supp. 2d 229 (S.D.N.Y. May 14, 2012); .......................................................... ............... 6

Cohen Bros. Realty Corp. v. Mapes,
  181 A.D.3d 401 (1st Dep't 2020) ............................................................................................... 7

Cunningham v. Hagedorn,
  72 A.D.2d 702 (1st Dep't 1979) ............. .... .. .. ..... ........ ... ............ ......... ........ .... ........................... 8

Cuoco v. Moritsugu,
  222 F.3d 99 (2d Cir. 2000) .............................................................. ............................................ 9

Def Vecchio v Collins,
  178 A.D.3d 1336 (3rd Dep't 2019) ....................................................................................... .... .. 8

Henneberry v. Sumitomo Corp. ofAm.,
  415 F. Supp. 2d 423 (S.D.N.Y. 2006) .......................... ........................ ....................... ................ 8

Hongxia Wang v. Enlander,
  No. 17 Civ. 4932, 2018 U.S. Dist. LEXIS 37910 (S.D.N.Y. Mar. 6, 2018) ..... ........... .... .......... 2

                                                                      11
           Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 4 of 15




Hyosung Am. Inc. v. Sumagh Textile Co., Ltd.,
  25 F. Supp. 2d 376 (S.D.N.Y. 1998) ... ...................... .... ........................................ .. .. ...... ... ......... 6

K.D. Hercules, Inc. v. Laborers Local 78 of the Laborer's Int'! Union ofN Am.,
  No. 20 Civ. 4829 (LGS), 2021 U.S. Dist. LEXIS 79593 (S.D.N.Y. Apr. 26, 2021) ............... ... 9

Kovkov v. Law Firm of Dayrel Sewell, P LLC,
  182 A.D.3d 418 (1st Dep 't 2020) ............................ .............................. ..................................... 7

Lambert v. Edelman,
  24 A.D.2d 562 (1st Dep't 1965) ......................................................................................... ........ 8

Marvel Characters, Inc. v. Simon,
 310 F .3d 280 (2d Cir. 2002) ................................................................................ ..... ..... .......... 4, 5

0 'Brien v. Argo Partners, Inc.,
   736 F. Supp. 2d 528 (E.D.N.Y. 2010) ...... .................................. ... ............. ........... ............ ......... 6

Pasternack v. Laboratory Corp. ofAm. Holdings,
  27 N.Y.3d 817 (2016) ................................................... .. .. ............. ......................................... 3, 6

Prestige Bldr. & Mgt. LLC v Safeco Ins. Co. ofAm.,
  896 F. Supp. 2d 198 (E.D.N.Y. 2012) .......................................................... .... .......................... 6

Quintanilla v. WW Int'!, Inc.,
  20 Civ. 6261 (PAE), 2021 U.S. Dist. LEXIS 97769 (May 21, 2021) ..................................... .. . 3

Indus. Risk Insurers v. Port Auth. ofNY & NJ,
  493 F.3d 283 (2d Cir. 2007) ................. ......... ...... ........ ....................... .................. ... ..... ..... .......... 4

Rice v. Manley,
  66 N.Y. 82 (1876) ...... ... .......................................................................... ....... ............................. 6

Roeder v. Rogers,
  206 F. Supp. 2d 406 (W.D.N.Y. 2002) ....................................................................................... 5

Ruffing v. Union Carbide Corp.,
  308 A.D.2d 526 (2d Dep't 2003) ............ ........ ............................................................................ 6

Simmons v. AMTRAK,
  19 Civ. 6986 (LGS), 2020 U.S . Dist. LEXIS 98600 (S .D.N.Y. Jun. 2, 2020) ...... .................... . 2

V.D.B. Pac. B. V. v. Chassman,
  09 Civ. 8081, 2012 U.S. Dist. LEXIS 29618 (S.D.N.Y. Mar. 5, 2012) ................................... IO



                                                                       Ill
           Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 5 of 15




Zapata v. HSBC Holdings PLC,
  414 F. Supp. 3d 342 (E.D.N.Y. 2019) ........................................... ............... .............. ................ 5

Zappin v. Cooper,
  16 Civ. 5984 (KPF), 2018 U.S. Dist. LEXIS 17520 (S.D.N.Y. Feb. 2, 2018) ........................... 4

Zdanok v. Glidden Co.,
  327 F.2d 944 (2d Cir. 1964) .......................... .. .............................. ............ .................................. 5


Statutes

28 U.S.C. § 1927 ............................... .............. .................................. ....... ..................................... 10

Fed. R. Civ. P. 11 ................................................................................................. ..................... 5, 10




                                                                        IV
        Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 6 of 15




         Defendant, David Kim, submits this Reply Memorandum of Law in response to Plaintiffs

opposition to his Motion to Dismiss, or in the alternative, to stay proceedings. Also submitted

herewith is the Transmittal Declaration of Steven J. Shore ("Shore Reply Deel."). 1

                                  PRELIMINARY STATEMENT

        The FAC contends that by filing his state-court lawsuit and the Notice of Pendency, Kim

committed ten different torts. In two pre-motion letters and in his moving Memorandum, Kim

demonstrated that none of these ten claims was viable. Among other things, Kim showed that

under New York law, "it is clear that the only actionable wrong which may arise from the

[allegedly] improper filing of a notice of pendency is a cause of action for malicious prosecution."

35-45 May Assocs. v. Maylock Assocs., 162 A.2d 389, 390 (1st Dep't 1990) (emphasis added).

This showed that nine of the FAC's ten claims failed as a matter of law. The tenth claim, for

malicious prosecution, also was not viable because the underlying State Court Action has not

terminated, and because Plaintiff has not sufficiently pleaded malice, two indispensable elements

of such a claim. For these and many other reasons, none of Plaintiffs theories stated a legally

sufficient claim.    In opposition, Plaintiff belatedly withdrew four of its claims, implicitly

acknowledging they had no merit. Plaintiff should have withdrawn its remaining claims as well.

        As discussed in Kim's moving papers, all of Plaintiffs claims are predicated on the

assertion that Kim's filing of the Notice of Pendency was improper. Plaintiff also sought to have

the Notice of Pendency cancelled in the State Court Action based on the same contentions raised

in the FAC. Plaintiff fails to advise the Court that in a Decision and Order dated June 11, 2021 -

after Kim filed this motion to dismiss on June 7, 2021 but before Plaintiff filed its opposition - the



        Capitalized terms used herein have the meanings set forth in the Defendant's Memorandum of Law in
Support of His Motion to Dismiss the Amended Complaint ("Memorandum" or "Def. Mem."; ECF 23).
        Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 7 of 15




New York State Supreme Court denied Plaintiffs motion to cancel the Notice of Pendency (the

"State Court Decision"). (Shore Reply Deel. Ex. "A"). As Justice Bannon stated:

                 CPLR 6501 provides that "[a] notice ofpendency may be filed in any action
        in a court of the state in which the judgment demanded would affect the title to, or
        the possession, use or enjoyment of real property." Inasmuch as the plaintiff has
        made claims and asse1ted several colorable causes of action that put into question
        the title to and possession and use of the real property described in the notice of
        pendency, this action falls within the scope of CPLR 6501. (Emphasis added).

(Id. at 1). Accordingly, Justice Bannon denied the motion to cancel the Notice of Pendency unless

Plaintiff posted a bond for the full value of Unit 3B (id. at 1-2), which Plaintiff has declined to do .

       Justice Bannon's conclusion that the Notice of Pendency was properly filed under New

York law - and the federal and state caselaw recognizing that filing such a notice is routine in an

action affecting title to real property - fmther demonstrates that Kim did not commit a tortious

interference, fraud, injurious falsehood, private nuisance, or any other tort.              Instead of

acknowledging the State Court Decision and either conceding that the decision doomed this action

or at least explaining why it does not, Plaintiff astonishingly asserts that the State Court Action "is

not relevant" to this litigation (Opp. Br. 1), which is absurd because the entire basis of Plaintiffs

claims is Kim's filing of the State Comt Action and of the Notice of Pendency.

       As set forth in Point I below, the FAC, to the extent Plaintiff has not withdrawn it, should

be dismissed. Over and over again, Plaintiff has no answer to Kim's legal arguments and simply

ignores them, as if in hope that doing so will make them disappear. As Rocky would say to

Bullwinkle, "that trick never works." See, e.g., Hongxia Wang v. Enlander, No. 17 Civ. 4932

(LGS), 2018 U.S. Dist. LEXIS 37910, at *20 (S.D.N.Y. Mar. 6, 2018) (Schofield, J.) (legal theory

would be deemed abandoned where "Plaintiff did not respond to Defendant's argument"); see also

Simmons v. AMTRAK, 19 Civ. 6986 (LGS), 2020 U.S. Dist. LEXIS 98600, at *11 (S.D.N.Y. Jun.

2, 2020) (Schofield, J.). In other words, "[a]t the motion to dismiss stage, where review is limited



                                                   2
       Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 8 of 15




to the pleadings, a plaintiff abandons a claim by failing to address the defendant's arguments in

support of dismissing that claim." Quintanilla v. WW Int'!, Inc., 20 Civ. 6261 (PAE), 2021 U.S.

Dist. LEXIS 97769, at *36 (May 21, 2021) (citation omitted); Budhani v. Monster Energy Co.,

No. 20-cv-1409 (LJL), 2021 U.S. Dist. LEXIS 54551, at *35 (S.D.N.Y. Mar. 12, 2021).

        Even when Plaintiff does attempt to rebut Kim's arguments and authorities, it does so

frivolously. For example, Kim argued in opposition to the fraud claims that, under New York law,

fraud requires a misrepresentation relied upon by the plaintiff itself and not by a third party. The

New York Court of Appeals ruled definitively to this effect in Pasternack v. Laboratory Corp. of

Am. Holdings, 27 N.Y.3d 817, 827-29 (2016), a case discussed at length in Kim's brief. (Def.

Mem. 14-15). Rather than address or attempt to distinguish Pasternack, Plaintiff cites six cases in

support of its fraud claims, all of which predate Pasternack. Not only are these cases no longer

good law after Pasternack, but the Pasternack decision expressly discussed and rejected four of

them by name. Id. Plaintiff also says nothing about the rule that a Notice of Pendency cannot

support any tort claim other than, under certain narrow circumstances, malicious prosecution. Nor

does it address the effect of its judicial admission in another federal complaint that "Kim believed

he had the right to acquire" Unit 3B. (Def. Mem . 12, quoting Shore Moving Deel. Ex. "C" ~ 20).

Accordingly, Plaintiff's remaining claims should be dismissed.

       As discussed in Point II below, not only should the FAC be dismissed, but the dismissal

should be with prejudice and Plaintiff's request for leave to replead should be denied. Plaintiff

already had the benefit of Kim's first pre-motion letter, which demonstrated why none of the three

claims in the original Complaint stated a claim or even made sense, before it filed the FAC, yet

nonetheless chose to retain those three claims and to add seven more claims that all contained the

same deficiencies along with many others. This is not a case where a plaintiff merely failed to




                                                 3
         Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 9 of 15




provide sufficient detail to make out a claim or committed a semantic pleading error that could be

fixed.   The problems with the FAC go much deeper:            Plaintiffs theories are fundamentally

incompatible with New York law, something no amount of repleading could cure.

         As discussed in Point III below, to the extent any of Plaintiffs remaining claims are not

dismissed, this action should be stayed pending the resolution of the first-filed State Court Action.

         Finally, as discussed in Point IV below, given Plaintiffs continued pursuit of its claims

after receiving Kim's pre-motion letters and after the State Court rejected them, without even

disclosing the State Court Decision, the Court should consider imposing sanctions.

                                               ARGUMENT

                                                  POINT I

               THE REMAINING CLAIMS OF THE FAC SHOULD BE DISMISSED

         "[I]t is clear that the only actionable wrong which may arise from the improper filing of a

notice of pendency is a cause of action for malicious prosecution." 35-45 May Assocs., 162 A.D.2d

at 390. This dooms Plaintiffs claims fortortious interference, fraud, fraudulent misrepresentation,

civil conspiracy, injurious falsehood, and private nuisance, each of which attempts to plead an

"actionable wrong" arising from the Notice of Pendency other than malicious prosecution.

         Plaintiff is also barred from pursuing these claims following the State Court Decision

holding that Kim's filing of the Notice of Pendency was proper. The doctrine of collateral estoppel

prohibits a party from relitigating an issue where (i) the issue was decided "in a previous

proceeding" (ii) "in which that party had a full and fair opportunity to litigate, and (iii) the issue

"is decisive of the present action." Zappin v. Cooper, 16 Civ. 5984 (KPF), 2018 U.S. Dist. LEXIS

17520, at *41 (S.D.N.Y. Feb. 2, 2018) (quoting Indus. Risk Insurers v. Port Auth. of NY & NJ,

493 F.3d 283, 287-88 (2d Cir. 2007)); see also Marvel Characters, Inc. v. Simon, 310 F.3d 280,




                                                  4
       Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 10 of 15




288 (2d Cir. 2002). Collateral estoppel is not limited to cases in which a judgment was entered

"which ends the litigation and leaves nothing for the court to do but execute the judgment, but

includes many dispositions which, though not final in that sense, have nevertheless been fully

litigated." Zapata v. HSBC Holdings PLC, 414 F. Supp. 3d 342, 351 (E.D.N.Y. 2019) (quoting

Zdanok v. Glidden Co., 327 F.2d 944, 955 (2d Cir. 1964)). Here, following extensive briefing

involving the same arguments presented to this Court (see Shore Moving Deel. Exs. "F" and "H"),

the New York State Supreme Court determined that Kim properly filed the Notice of Pendency

under CPLR 6501 (Shore Reply Deel. Ex "A" at 1), thereby precluding Plaintiff from relitigating

the issue here. Even if collateral estoppel did not apply, the State Court Decision would, at least,

be highly persuasive authority that filing the Notice of Pendency was proper under New York law.

       In addition to these grounds for dismissal, each of the remaining claims is barred for yet

additional reasons as discussed below.

A.     The Tortious Interference Claim (First Claim) Should Be Dismissed

       As Kim showed in his opening brief, the filing of a Notice of Pendency, in an action

affecting the title to real property, cannot constitute a tortious interference. (Def. Mem. 10-11)

(citing Roeder v. Rogers, 206 F. Supp. 2d 406 (W.D.N.Y. 2002), ajf'd, 58 Fed. App'x 879 (2d Cir.

2003). This is so clear that filing such a claim can give rise to Rule 11 sanctions. Id. at 417. In

addition, Kim's moving Memorandum identified three additional fatal defects in the tortious

interference claim: (i) filing the Notice of Pendency could not have interfered with Plaintiffs

relations with the would-be purchasers of Unit 3B because Plaintiff only identified them two

months after the filing (Def. Mem. 10); (ii) Plaintiff conceded that Kim did not act with "malice"

- which requires a defendant's sole motive to have been to inflict injury upon Plaintiff - when it

acknowledged Kim filed the Notice of Pendency to advance his economic interests (id. at 11-12);




                                                 5
          Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 11 of 15




    and (iii) Plaintiffs allegation in its other federal action that Kim "believed that he had a right to

    acquire the Condominium Unit" is inconsistent with the culpable state of mind required for a

tortious interference claim (id., quoting Shore Moving Deel. Ex. "C" 120). Plaintiff ignores these

points, thereby conceding that its tortious interference claim fails on those grounds as well.

B.         The Fraud and Fraudulent Misrepresentation Claims
           (Third and Fourth Claims) Should Be Dismissed

           In his Memorandum, Kim established that Plaintiff did not allege two of the central

elements of fraud or fraudulent misrepresentation: a false statement and Plaintiffs reliance upon

it. (Def. Mem. 14-15). Plaintiff ignores Kim's cases holding that "a notice of pendency is an

undeniably true statement." (Def. Mem. 15, 20) (citing Casa de Meadows Inc. (Cayman Islands)

v. Zaman, 76 A.D.3d 917, 922 (1st Dep't 2010) (quoting 35-45 May Assocs., 162 A.D.2d at 389-

90)) (emphasis added). Making "an undeniably true statement" does not constitute fraud.

           Nor does Plaintiff address Pasternack, 27 N.Y.3d 817, the New York Court of Appeals

decision requiring a fraud plaintiff to have itself relied upon the statement at issue. (Def. Mem.

14-15). Instead, Plaintiff disingenuously cites six pre-Pasternack cases, four of which Pasternack

expressly overruled or rejected, for the proposition that the plaintiff need not rely upon the

purportedly false statement if a third party relied on it - the exact proposition the New York Court

of Appeals repudiated in Pasternack. (Pl. Mem. 14). 2 Plaintiff also fails to rebut, and thereby

concedes, Kim's argument that Plaintiffs judicial admission in another federal action that "David




2
         Pasternack expressly overruled or rejected the decisions in Prestige Bid,·. & Mgt. LLC v Safeco Ins. Co. of
Am., 896 F. Supp. 2d 198,205 (E.D.N.Y. 2012); Chevron Corp. v. Danziger, 871 F. Supp. 2d 229 (S .D.N.Y. May 14,
2012); Buxton Mfg. Co. v. Valiant Moving & Storage, Inc., 239 A.D.2d 452 (2d Dep't 1997); Ruffing v. Union Carbide
Corp., 308 A.D.2d 526, 528 (2d Dep't 2003); Rice v. Manley, 66 N.Y. 82 (1876). Plaintiffs other cases, O'Brien v.
Argo Partners, Inc., 736 F. Supp. 2d 528,537 (E.D.N.Y. 2010), and Hyosung Am. Inc. v. Sumagh Textile Co., Ltd.,
25 F. Supp. 2d 376, 383-84 (S.D.N.Y. 1998) relied upon the Ruffing and Buxton decisions that Pasternack overruled.


                                                         6
       Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 12 of 15




Kim believed that he had a right to acquire" Unit 3B negates the scienter required for a fraud or

fraudulent misrepresentation claim. (Def. Mem. 15) (citing Shore Moving Deel. Ex. "C" at~ 20).

C.      The Civil Conspiracy Claim {Seventh Claim) Should Be Dismissed

        Confronted with controlling authority that no independent cause of action for civil

conspiracy exists under New York law (Def. Mem. 19-20), Plaintiff cites to two cases holding that

"[a]lthough New York does not recognize an independent cause of action for civil conspiracy,

allegations of civil conspiracy are permitted to connect the actions of separate defendants with an

otherwise actionable tort." (Pl. Mem. 19-20) (citing Cohen Bros. Realty Corp. v. Mapes, 181

A.D.3d 401,404 (1st Dep't 2020), and Bargain Me Online LLC v. Ofek, Index No. 655810/2020,

2021 N.Y. Misc. LEXIS 1478, at *6 (Sup. Ct. N .Y. Co . Apr. 2, 2021)).

        The smidgen of truth in Plaintiffs argument is that in ce1tain limited circumstances, a civil

conspiracy theory can be used to connect Defendant A with the tortious conduct of Defendant B.

One necessary prerequisite to invoking this theory is a well-pleaded claim for an underlying tort

committed by a defendant other than the one accused of civil conspiracy. Here, Kim is the only

defendant named and the underlying torts that Plaintiff alleges were committed by Kim himself

(and were not tortious in any event). Kim could not "conspire" with himself and Plaintiffs attempt

to salvage its civil conspiracy claim fails.

D.     The Injurious Falsehood Claim {Ninth Claim) Should Be Dismissed

       Slander of title and injurious falsehood have "essentially identical" elements. Casa de

Meadows, 76 A.D.3d at 922 . Plaintiff withdrew its slander of title claim, but not its injurious

falsehood claim, without explaining why they should be treated differently.

       The uttering of a "falsehood" is essential to an injurious falsehood claim, but, as discussed

above, "a notice of pendency is an undeniably true statement." Id. Therefore, this claim should




                                                  7
       Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 13 of 15




be dismissed. As with its other claims, Plaintiff did not address the substance of Kim's arguments

to dismiss its injurious falsehood claim. Instead, Plaintiff argues merely that the tort of injurious

falsehood exists in New York, which Kim does not dispute, and that "aspersions upon the title to

property, or its quality" can sometimes constitute that tort. (Opp. Br. 22-23).         But none of

Plaintiffs cases concerned notices of pendency or suggested that filing a notice of pend ency could

support this claim. See Henneberry v. Sumitomo Corp. of Am., 415 F. Supp. 2d 423, 470-71

(S.D.N.Y. 2006) (statements in business meetings); Cunningham v. Hagedorn, 72 A.D.2d 702,

704 (1st Dep't 1979) (dismissing claim for statements unrelated to property); Lambert v. Edelman,

24 A.D.2d 562,562 (1st Dep't 1965) (statements to broker and prospective customer).

E.     The Private Nuisance Claim (Tenth Claim) Should Be Dismissed

       As Kim demonstrated in his moving papers, Plaintiffs Tenth Claim alleging that filing and

maintaining the Notice of Pendency constituted a "private nuisance" should be dismissed because

(i) malicious prosecution is the only actionable wrong which may arise from the improper filing

of a notice of pendency and (ii) filing a notice of pendency in the office of the New York County

Clerk is not the type of "recurring" "invasion" akin to excessive noise, dust or odors required to

sustain a private nuisance claim. (Def. Mem. 20-22) (citing Berenger v. 261 W LLC, 93 A.D.3d

175,182 (1st Dep't 2012); De/Vecchio v Collins, 178 A.D.3d 1336, 1337 (3d Dep't 2019)).

Plaintiff did not acknowledge, let alone attempt to rebut either argument.

                                                POINT II

                      PLAINTIFF'S CLAIMS SHOULD BE DISMISSSED
                   WITHOUT LEAVE TO REPLEAD AND WITH PREJUDICE

       Plaintiff asks that if the FAC is "dismissed because it lacks or requires more particularized

or definitive allegations", the dismissal be without prejudice and with leave to replead . (Pl. Mem.

24-25). While leave to replead is liberally granted, it should be denied as futile where, as here,



                                                 8
       Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 14 of 15




"defects in the complaint are substantive and cannot be cured by rep leading." Caldwell v. Barriere,

844 Fed. App'x 461,462 (2d Cir. 2021) (citing Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir.

2000)); K.D. Hercules, Inc. v. Laborers Local 78 of the Laborer's Int'! Union of N Am., No. 20

Civ. 4829 (LGS), 2021 U.S . Dist. LEXIS 79593 , at *11 (S.D.N.Y. Apr. 26, 2021) (Schofield, J.).

        Plaintiff had the benefit of Kim's first pre-motion letter when it filed the FAC, yet filed

claims containing the fundamental defects identified the letter. Each of Plaintiffs remaining

claims still suffer from fundamental defects that cannot be cured with "more particularized or

definitive allegations ." Plaintiff should never have filed these baseless claims and, despite being

served with a pre-motion letter highlighting their deficiencies and the State Court Decision, chose

not to withdraw them. Kim has already had to incur substantial expenses seeking to have those

claims dismissed. The Court should dismiss the FAC's remaining claims with prejudice and deny

Plaintiffs request for leave to rep lead yet again.

                                                 POINT III

                 IF ANY CLAIMS ARE NOT DISMISSED, THEY SHOULD
                   BE STAYED PENDING THE STATE COURT ACTION

       Because Plaintiffs claims involve the same issues as the first-filed and further advanced

State Court Action, Kim moved in the alternative to stay proceedings on any claims in this action

that the Court does not dismiss. (Def. Mem. at 1, 22). Plaintiffs response to this aspect of the

motion is purely conclusory and provides no rationale for having duplicative litigation between

the same parties on the same issues proceed in this Court as well as in the State Court Action .

                                             POINT IV

                      AN AWARD OF SANCTIONS IS APPROPRIATE

       In addition to dismissing the FAC with prejudice, Kim submits that this is an appropriate

case in which the Court may wish to award sanctions. This is a retaliatory litigation that required



                                                  9
        Case 1:21-cv-03068-LGS Document 27 Filed 07/12/21 Page 15 of 15



duplicative litigation of the same issues that were already before the State Court. The initial

Complaint contained three claims that were not viable under New York law, as Kim pointed out

in his first pre-motion letter, yet Plaintiff filed the FAC containing the same three deficient claims

and seven more that were equally deficient. Kim was required to write a second pre-motion letter

and then file his Memorandum of Law and this Reply Memorandum showing why the claims have

no merit as a matter of law. In the interim, the State Court Decision adjudicated that Kim had the

right to have filed the Notice of Pendency, but even this did not dissuade Plaintiff and its counsel

from continuing to burden the Court with a meritless lawsuit. The Court may wish to consider the

sua sponte imposition of sanctions under Fed. R. Civ. P. 11, 28 U.S.C. § 1927 and/or the Court's

inherent powers. See, e.g., VD.B. Pac. B. V v. Chassman, 09 Civ. 8081, 2012 U.S. Dist. LEXIS

29618, at *4 (S.D.N.Y. Mar. 5, 2012 (motion not required for§ 1927 sanctions).

                                          CONCLUSION

       For all the foregoing reasons, the FAC should be dismissed with prejudice, and leave to

replead should be denied.

Dated: New York, New York
       July 12, 2021

                                                 GANFER SHORE LEEDS & ZAUDERER LLP


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